
SCHWARTZ, C.J.,
(dissenting).
I would vacate the orders terminating both parents’ parental rights and remand for a “least restrictive means” hearing and determination which were not undertaken *523below. See E.E.A. v. Department of Children &amp; Family Servs., 846 So.2d 1250 (Fla. 2d DCA 2003); K.O. v. Department of Children &amp; Families, 843 So.2d 353 (Fla. 5th DCA 2003); K.R. v. Department of Children &amp; Family Servs., 843 So.2d 366 (Fla. 2d DCA 2003); L.B. v. Department of Children &amp; Families, 835 So.2d 1189 (Fla. 1st DCA 2002).
